                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF IOWA
                                      (EASTERN DIVISION)

 BAMBI TESKA,

                                                            Civil No. ___    _
                                                                      6:19-cv-2009
             Plaintiff,

 vs.
                                                            COMPLAINT AND JURY
 JAMES GARNER AND PRECISION AIR                             DEMAND
 CARGO,INC.

             Defendants.


COME NOW, the plaintiffs and for their complaint state as follows:

                          DIVISION I-PARTIES AND JURISDICTION

1. Plaintiff Bambi Teska is a resident and citizen of the State of Iowa.

2. Defendant James Garner is a resident and citizen of the State of Illinois.

3. Defendant Precision Air Cargo, Inc. is an Illinois corporation with its principal place of

   business in the State ofIllinois and is therefore a citizen of the State of Illinois.

4. This cause ofthis action arose in Bremer County, Iowa.

5. The amount in controversy exceeds the sum of$75,000, exclusive of interest and costs.

                                   DIVISION II-NEGLIGENCE

6. On or about December 29, 2018 on Highway 218 in Bremer County, Iowa, a vehicle owned

   by Defendant Precision Air Cargo, Inc. and operated by Defendant James Garner struck the

   rear of Plaintiff's vehicle.

7. Defendant James Garner was negligent in one or more of the following particulars:

       a. In failing to yield prior to striking the Plaintiff's vehicle;

       b. In failing to keep a proper lookout;




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        c. In failing to stop in a safe and reasonable manner;

        d. In failing to maintain control of said vehicle;

        e. In failing to operate said vehicle at a reasonably prudent speed and manner; and

        f. In failing to act as a reasonable motorist under the circumstances then and there

            existing.

8. Defendant's negligence was a cause of the collision and the resulting damage and injury

   incurred and suffered by Plaintiff.

9. Plaintiff has incurred damages in the following particulars:

        a. Past, present, and future hospital, medical and drug expenses;

        b. Past, present, and future pain and suffering;

        c. Past, present, and future impairment, loss of use, and enjoyment of life;

        d. Past, present, and future mental anguish; and

        e. Past, present, and future loss of wages.

10. Defendant Precision Air Cargo, Inc. is vicariously liable for the negligence of James Garner

    pursuant to Iowa Code Section 321.493.

        WHEREFORE, Plaintiff prays for judgment against Defendants for actual and

compensatory damages in a fair and reasonable amount, for interest at the statutory rate, and for

the costs of this action.



                                          JURYDEMAND

        Plaintiff additionally demands jury trial of all the issues in this case.




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    WHEREFORE, Plaintiff prays she be awarded damages from Defendants in an amount to

fairly and reasonably compensate her for her loss, with interest at the legal rate and for the cost

of th.is action.




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